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                                                     USDC No. 4:21cv107-DMB-JMV
            IN THE CIRCUIT COURT OF COAHOMA COUNTY,MISSISSIPPI

CARRIE BRANDON                                                                      PLAINTIFF
                                                                        q       at-cv-o03D
VS.                                                    CIVIL ACTION NO.

THE KENAN ADVANTAGE GROUP,INC.                                                    DEFENDANT

                                      COMPLAINT
                                 JURY TRIAL REQUESTED

       COMES NOW Carrie Brandon, by and through counsel, and for cause of action against

the defendant, The Kenan Advantage Group, Inc., states and alleges the following:

                                                1.

       Carrie Brandon is an adult resident citizen of Friars Point, Coahoma County, Mississippi.

                                                2.

       The Kenan Advantage Group,Inc. is a Delaware Corporation organized and existing under

the laws of the State of Delaware; is not licensed to do but is doing business in the State of

Mississippi; and, may be served by and through service upon its registered agent for service, The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 19801.

                                                3.

       This Court has jurisdiction over this matter pursuant to the Mississippi Constitution and

the laws ofthe State of Mississippi. Venue is proper in this Honorable Court as the acts complained

ofoccurred in whole or in part in the Coahoma County, Mississippi.

                                                4

       On or about April 4, 2020, Carrie Brandon was operating a vehicle in a southerly direction

on Highway 61 near its intersection with Rich Road in Coahoma County, Mississippi. At such

time, Carrie Brandon was lawfully and prudently traveling south on Highway 61 within her lane
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of travel.

                                                  5.

        At the same time and place, a vehicle owned by The Kenan Advantage Group, Inc. was

being operated by an unknown driver who was in the course and scope of his employment The

Kenan Advantage Group, Inc. and was traveling in a southerly direction on Highway 61 near its

intersection with Rich Road in Coahoma County, Mississippi in the lane to the left of the vehicle

being operated by Carrie Brandon. At such time, the vehicle owned by The Kenan Advantage

Group,Inc. which was being operated by an unknown driver who was in the course and scope of

his employment The Kenan Advantage Group, Inc. left its lane of travel, crossed over the line and

entered the lane oftravel occupied by Carrie Brandon and collided with the vehicle being operated

by Carrie Brandon.

                                                    6.

        The collision and resulting damages to Carrie Brandon were directly and proximately

caused by the negligence of the driver of the vehicle owned by The Kenan Advantage Group,Inc.

and who was in the course and scope of his employment The Kenan Advantage Group, Inc. at the

time of the collision in the following ways:

       (a)     Failing to obey the traffic signs;

       (1))    Failing to keep his vehicle under reasonable and proper control;

       (c)     Failing to keep a reasonable and proper lookout as he operated his vehicle;

       (d)     Failing to yield the right of way;

       (e)     Failing to obey traffic signals;

        (1)    Failing to abide by the Rules of the Road;

       (g)     Operating his vehicle in a careless and negligent manner;



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      (h)     Failing to give adequate warnings of a collision;

      (i)     Causing his vehicle to collide into the Plaintiff; and/or,

      (i)      Other acts of omission and commission to be named in a trial of this matter.

                                                7.

       At all relevant times hereto, the unknown driver was operating a vehicle owned and

maintained by The Kenan Advantage Group, Inc. and was acting in the course and scope of his

employment with The Kenan Advantage Group,Inc. As such, The Kenan Advantage Group, Inc.

is vicariously liable for any and all negligent acts of the unknown driver under the theory of

Respondeat Superior and/or vicarious liability as the employer of the unknown driver or as owner

and maintainer of the vehicle the unknown driver was operating at the time of the collision.

                                                8.

       As a result of the unknown driver's negligent acts and/or omissions, Carrie Brandon has

suffered past, present, and future medical expenses; past, present, and future loss ofwages or wage-

earning capacity; property damage; loss of household services; and past, present, and future pain

and suffering and resulting emotional distress and mental anguish.

                                                9.

       Based on the foregoing, Plaintiff requests an award of damages for the following:

               1. past, present, and future pain and suffering and resulting emotional distress and

                   mental anguish;

               2. past, present, and future loss of wages or wage earning capacity;

               3. past medical expenses;

             . 4. future medical expenses;

               5. loss of household services;



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              6. property damage;

              7. Pre-judgment interest;

              8. Post-judgment interest; and,

              9. All costs of court.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff, Carrie Brandon, demands

judgment against Daniel Thompson in an amount in excess of the jurisdictional minimum of this

court and to be determined by a jury to adequately compensate the plaintiff for her injuries; pre-

judgement and post-judgement interest; her costs in pursuing this lawsuit; and any other relief to

which she may be entitled under Mississippi Law.

       RESPECTFULLY SUBMITTED, this the            714       day of July, 2021.

                                             CARRIE BRANDON


                                             BY:
                                                OF COUNSEL



PAUL V. OTT,ESQ. - BAR # 8742
MORGAN & MORGAN,PLLC
4450 OLD CANTON RD., SUITE 200
JACKSON,MS 39211
PHONE:(601)503-1667
FACSIMILE:(601)503-1613
POTTO,FORTHEPEOPLE.COM




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